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                    No. 23-12155
    ════════════════════════════════════════
         UNITED STATES COURT OF APPEALS
            FOR THE ELEVENTH CIRCUIT
         ──────────────────────────────

                 AUGUST DEKKER, ET AL.,
                  PLAINTIFFS-APPELLANTS,
                            V.
      SECRETARY, FLORIDA AGENCY FOR HEALTH CARE
                 ADMINISTRATION ET AL.,
                  DEFENDANTS-APPELLEES.

            ──────────────────────────────
          On Appeal from the United States District Court
               for the Northern District of Florida,

                  Case No. 4:22-cv-325 (Hinkle, J.)
    ════════════════════════════════════════
                BRIEF OF AMICUS CURIAE
           ETHICS AND PUBLIC POLICY CENTER
        IN SUPPORT OF DEFENDANTS-APPELLANTS
                    AND REVERSAL
    ════════════════════════════════════════
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     October 13, 2023
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23-12155 – August Dekker, et al., v. Secretary, Florida Agency for
Health Care Administration et al.

           CERTIFICATE OF INTERESTED PERSONS

     Pursuant to Eleventh Circuit Rule 25.1, undersigned counsel

certifies that the following listed persons and parties not already listed

in the CIP contained in the Defendants-Appellants’ initial brief and in

any other brief filed have an interest in the outcome of this case:

           Ethics and Public Policy, amicus curiae;

           Hasson, Mary Rice, counsel for amicus curiae; and

           Kniffin, Eric Nieuwenhuis, counsel for amicus curiae.

     Amicus curiae Ethics and Public Policy is a non-profit 501(c)(3)

organization with no corporate parent and is not owned in whole or in

part by any publicly held corporation.



Dated: October 13, 2023

                                   s/ Eric N. Kniffin
                                   Eric N. Kniffin
                                   Counsel for Amicus Curiae




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        STATEMENT OF INTEREST OF AMICUS CURIAE 1

     The Ethics and Public Policy Center (“EPPC”) is a nonprofit

research institution dedicated to applying the Judeo-Christian moral

tradition to critical issues of public policy, law, culture, and politics.

EPPC has a strong interest in promoting the Judeo-Christian vision of

the human person, protecting religious liberty, and responding to the

challenges of gender ideology.

     Gender ideology has permeated culture with stunning speed,

influencing medicine, business, media, entertainment, government, and

education. Because gender ideology is sowing confusion and undermining

personal well-being, its rise has created an urgent need for clarity,

education, and compassionate guidance.




1 All parties received timely notice to the filing of this brief and have

given their consent. No party’s counsel authored any part of this brief
and no person other than amicus made a monetary contribution to fund
its preparation or submission.

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     To meet this need, EPPC launched the Person & Identity Project,

led by Director Mary Rice Hasson. 2 Many EPPC Fellows also write and

advocate on issues related to gender ideology. 3




2 EPPC, Person & Identity Project, https://personandidentity.com/.

3 Relevant publications from EPPC Fellows include:

     • Ryan T. Anderson, WHEN HARRY BECAME SALLY
       (Encounter Books 2018);

     • Andrew T. Walker, GOD AND THE TRANSGENDER DEBATE
       (Good Book 2017);

     • Carl R. Trueman, STRANGE NEW WORLD: HOW THINKERS
       AND ACTIVISTS REDEFINED IDENTITY AND SPARKED THE
       SEXUAL REVOLUTION (Crossway 2022);

     • Mary Rice Hasson, Erasing Females in Language and
       Law, 11 J. OF CHRISTIAN LEGAL THOUGHT 44, 46 (Oct.
       2011), available at https://eppc.org/publication/erasing-
       females-in-language-and-law/.

     • Rachel N. Morrison, Gender Identity Policy Under the
       Biden Administration, 23 FED. SOC. REV. 85 (2022),
       available at SSRN: https://ssrn.com/abstract=4104566;

     • Theresa Farnan, Our World Has Lost the Catholic
       Understanding of Human Anthropology, Our Sunday
       Visitor, June 2, 2023,
       https://www.oursundayvisitor.com/our-world-has-lost-the-
       catholic-understanding-of-human-anthropology;

     • Amicus briefs on gender identity authored by EPPC
       fellows are available at EPPC, Amicus Briefs: “Gender
       Transition” Interventions, https://eppc.org/amicus-


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       INTRODUCTION AND SUMMARY OF ARGUMENT

     Since the first gender clinic for minors opened in the U.S. in 2007,

the number of minors seeking and receiving medical transitioning

treatments (puberty blockers, cross-sex hormones, and surgeries) has

skyrocketed. This unprecedented surge in transitioning treatments for

minors carries a high cost. These treatments are unproven, life-altering,

and can lead to significant and irreversible harms, including

sterilization, loss of sexual function, and serious mental health problems.

Despite the poor evidence base underlying these treatments and the lack

of medical consensus supporting them, gender clinicians continue to

provide transitioning treatments to minors and medical associations

continue to endorse them.

     The court below determined that “[t]he overwhelming weight of

medical authority supports treatment of transgender patients with

[puberty blockers] and cross-sex hormones.” Dekker v. Weida, No.

4:22CV325-RH-MAF, 2023 WL 4102243, at *7 (N.D. Fla. June 21, 2023).

On that basis, the court found that the Florida Agency for Health Care



        briefs/#16-%E2%80%9Cgender-transition%E2%80%9D-
        interventions-.


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Administration violated federal law and the U.S. Constitution when it

determined that “gender transitions” for minors are experimental and

that, in light of the current state of the ongoing scientific and political

debates about how best to care for children who express a gender identity

that does not reflect their sex, these procedures ought not to be funded

with taxpayer dollars.

     Respectfully, the district court got it wrong. Contrary to the district

court’s characterization, the Defendants-Appellants do not deny that

“[g]ender identity is real.” Dekker, 2023 WL 4102243 at *20. The Agency

merely disagrees with Plaintiffs-Appellees—and with some voices in an

ongoing debate—about the best way to treat children that presently

identify with a gender that is at odds with their sex.

     The reality, as shown below, is that there is no national or

international medical consensus regarding an authoritative standard of

care for the treatment of gender dysphoria or the use of transitioning

treatments. This lack of medical consensus has been recognized by the

federal government, is reflected in state action, and continues to generate

controversy in the medical profession.




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     The Agency’s actions are entitled to a “strong presumption of

validity.” Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2284

(2022) (“[H]ealth and welfare laws … must be sustained if there is a

rational basis on which the legislature could have thought that it would

serve legitimate state interests.”). As the evidence set out below shows,

the district court’s claims about the state of ongoing scientific and

political debate in this area and its attacks on the Agency’s motives are

inappropriate and unjustified. Amicus urges the Court to affirm the

reasonableness of the Agency’s challenged rule and reverse the decision

below.

                             ARGUMENT

I.   There is no national or international medical consensus
     regarding an authoritative standard of care for gender
     dysphoria.

     There is no consensus within the medical profession regarding an

authoritative standard of care for treatment of gender dysphoria, nor in

support of gender-transition interventions. This lack of consensus is

reflected historically, internationally, in actions by the federal

government and states, and in ongoing debate among medical

professionals.



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     A.    There is no consensus within the medical profession
           historically.

     Ever since the first gender-transition surgeries were performed in

the U.S. in the mid-20th century, there has never been a medical

consensus regarding the authoritative standard of care to treat gender

dysphoria (previously, “gender identity disorder”) or regarding the risks

and benefits of medical “gender transitions.”

     Historically, there have been uneven and, at times, competing

trajectories in how the psychological and medical communities have

responded to an individual’s experience of incongruence between

perceived identity and the sexed body. Diagnostic labels, criteria, and

interventions have evolved significantly over a relatively short time. 4

Until the late 20th century, “incongruence was taken to justify the need

for psychiatric hospitalization and reparative psychotherapy.” 5 More


4 The American Psychiatric Association’s (APA) Diagnostic and

Statistical Manual (DSM) changed terminology and diagnostic criteria
as follows: “transsexualism” (DSM-III), “gender identity disorder”
(DSM-IV), and “gender dysphoria.” Gender Dysphoria Diagnosis, APA
(2017),
https://www.psychiatry.org/psychiatrists/diversity/education/transgende
r-and-gender-nonconforming-patients/gender-dysphoria-diagnosis.
5 Karl Gerritse et al., Decision-Making Approaches in Transgender

Healthcare: Conceptual Analysis and Ethical Implications, 24 Med.


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recently, the experience of incongruence has been variously classified as

“a mental disorder” or “a condition related to sexual health.” 6 (The

American Psychiatric Association defines gender dysphoria as “clinically

significant distress or impairment related to gender incongruence, which

may    include    desire   to   change     primary    and/or    secondary     sex

characteristics.” 7)

      The treatment of gender dysphoria, an “inherently subjective

phenomenon,” has been complicated by a “relatively slim (biomedical)

evidence base” and a “unique” approach where “a mental health

professional determines eligibility for medical treatment.” 8 Not

surprisingly, this “convoluted context” results in situations where

“experts, clinicians and clients may disagree when it is appropriate to




Health Care Philos. 687, 687 (2021), https://doi.org/10.1007/s11019-021-
10023-6.
6 The APA classifies “gender dysphoria” under mental health disorders,

while the World Health Organization classifies “gender incongruence”
under “sexual health.” Id. at 688.
7 Jack Turbian, ed., What Is Gender Dysphoria?, APA (Aug. 2022),

https://www.psychiatry.org/patients-families/gender-dysphoria/what-is-
gender-dysphoria.
8 Gerritse, supra note 5, at 687-88.




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initiate medical treatment, how to organize decision-making and how to

serve the client’s best interests.” 9

         In the past decade another conflict has emerged, between the

“gatekeeping” approach—which relies on mental health professionals to

diagnose, and physicians to treat, the patient—and the “informed

consent” model, which prioritizes “consumer” autonomy to choose a full

range of medical interventions “without [a] mental health evaluation” or

“formal diagnosis.” 10

         Activists now press for full “depathologization” of “transgender”

identities, calling for “the removal of the diagnostic classification of

gender transition processes as a mental disorder from the [Diagnostic

and Statistical Manual] and the [International Classification of

Diseases], [a change] from a psychiatric assessment process towards an

informed decision-making approach … [and] depathologization of gender

diversity in childhood.” 11 The continued conflicts over basic issues of




9 Id. at 688.

10 Id.

11 Amets Suess Schwend, Trans Health Care from a Depathologization

and Human Rights Perspective, 41 Pub. Health Rev. 1, 4 (2020),
https://doi.org/10.1186/s40985-020-0118-y.

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diagnosis, appropriate interventions, and even the validity of mental

health assessments in connection with gender-transition interventions

reflects the ongoing lack of medical consensus.

      The care for gender-dysphoric minors also lacks medical consensus.

A decade ago, responding to a child’s gender dysphoria with “watchful

waiting” or family therapy was not controversial because, in most cases,

the child’s gender incongruence resolves by puberty. 12 In contrast, the

use of gender-transition interventions for minors has been controversial

since its inception.

      The Dutch researchers who pioneered the use of puberty

suppression for minors acknowledge persistent skepticism towards their

work, including from providers concerned that gender dysphoria “can

only be diagnosed with certainty in adulthood”; they feared “disapproval

of the peer group, reactions of the correctional medical boards, or

litigation.” 13



12 Devita Singh et al., A Follow-Up Study of Boys with Gender Identity

Disorder, 12 Front. Psychiatry 632784, 12-13 (2021),
https://pubmed.ncbi.nlm.nih.gov/33854450/.
13 Peggy Cohen-Kettenis et al., The Treatment of Adolescent

Transsexuals: Changing Insights, 5 J. Sexual Med. 1892, 1893 (2008),
https://doi.org/10.1111/j.1743-6109.2008.00870.x.

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      In 2007, Dr. Norman Spack opened the first U.S. pediatric gender

clinic at Boston Children’s Hospital and introduced puberty suppression

for minors. With scant research available, he viewed “stopping puberty”

as “a diagnostic test.” 14 If it brought relief, the diagnosis was right.

      No professional medical society recommended medically treating

gender dysphoria in minors until 2009, 15 when the Endocrine Society

released Clinical Practice Guidelines supporting puberty suppression

and cross-sex hormones for minors—despite lacking “rigorous evaluation

of the effectiveness and safety of endocrine protocols.” 16

      In 2012, the World Professional Association for Transgender Health

(WPATH), an early promoter of gender-transition interventions for




14 Pagan Kennedy, Q & A with Norman Spack, Boston Globe, Mar. 30,

2008,
http://archive.boston.com/bostonglobe/ideas/articles/2008/03/30/qa_with
_norman_spack/?page=full.
15 Edwards-Leeper et al., Psychological Evaluation and Medical

Treatment of Transgender Youth in an Interdisciplinary “Gender
Management Service” (GeMS) in a Major Pediatric Center, 59 J.
Homosexuality 321, 323 (2012),
https://pubmed.ncbi.nlm.nih.gov/22455323/.
16 Wylie C. Hembree et al., Endocrine Treatment of Transsexual

Persons: An Endocrine Society Clinical Practice Guideline, 94 J. Clinical
Endocrinology & Metabolism 3132, 3134 (2009),
https://pubmed.ncbi.nlm.nih.gov/19509099/.

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minors, noted that adoption of such interventions for minors “differs

among countries and centers. Not all clinics offer puberty suppression….

The percentages of treated adolescents are likely influenced by the

organization of health care, insurance aspects, cultural differences,

opinions of health professionals, and diagnostic procedures offered in

different settings.” 17 In short, no consensus.

     A 2014 Dutch study reported positive psychological functioning for

fifty-five patients who received medical transitioning treatments as

adolescents and surgery as adults, 18 but subsequent studies failed to

replicate those positive outcomes 19 and many have criticized the study’s

methodology. 20 The Endocrine Society’s 2017 guidelines rely on the



17 WPATH, Standards of Care for the Health of Transsexual,

Transgender, and Gender Nonconforming People, Ver. 7, 13 (2012),
[hereinafter “WPATH SOC7”], https://www.wpath.org/publications/soc.
18 Annelou L.C. de Vries et al., Young Adult Psychological Outcome

After Puberty Suppression and Gender Reassignment, 134 Pediatrics
696, 702 (2014), https://pubmed.ncbi.nlm.nih.gov/25201798/.
19 Polly Carmichael et al., Short-Term Outcomes of Pubertal

Suppression in a Selected Cohort of 12 to 15 Year Old Young People with
Persistent Gender Dysphoria in the UK, 16 PLoS ONE (2021),
https://doi.org/10.1371/journal.pone.0243894 (failing to replicate Dutch
study).
20 Stephen B. Levine et al., Reconsidering Informed Consent for Trans-

Identified Children, Adolescents, and Young Adults, 48 J. Sex & Marital


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Dutch study but acknowledge the overall “low” and “very low” quality of

supporting evidence generally 21 and note new concerns emerging since

2009, including “effects of prolonged delay of puberty in adolescents on

bone health, gonadal function, and the brain.” 22

      In 2019, Boston Children’s opened the first pediatric center for

gender-transition surgery, performing double mastectomies on minors. 23

This movement to “treat” to younger and younger adolescents is not

supported by a consensus in the medical community. 24


Therapy 706 (2022),
https://www.tandfonline.com/doi/full/10.1080/0092623X.2022.2046221;
Michael Biggs, The Dutch Protocol for Juvenile Transsexuals: Origins
and Evidence, Journal of Sex & Marital Therapy (Sept. 19, 2022),
https://www.tandfonline.com/doi/full/10.1080/0092623X.2022.2121238?s
croll=top&needAccess=true.
21 Wylie C. Hembree et al., Endocrine Treatment of Gender-

Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical
Practice Guideline, 102 J. Clinical Endocrinology & Metabolism 3869,
3880 (2017), https://doi.org/10.1210/jc.2017-01658.
22 Id. at 3874.

23 Center for Gender Surgery: Conditions & Procedures, Boston

Children’s Hospital, https://www.childrenshospital.org/programs/center-
gender-surgery-program/conditions-and-treatments.
24 See Hembree et al., supra note 2121, at 3872; Christine & Dan

Karasic, Age Is Just a Number: WPATH-Affiliated Surgeons’
Experiences and Attitudes Toward Vaginoplasty in Transgender
Females Under 18 Years of Age in the United States, 14 J. Sex Med. 624,
625 (2017), https://pubmed.ncbi.nlm.nih.gov/28325535/ (urging lowering


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     In the sixteen years since U.S. gender clinicians began their

controversial practice, the number of minors seeking and receiving

gender-transition interventions has skyrocketed. Over 42,000 U.S. youth

were diagnosed with gender dysphoria in 2021 alone. 25 The number of

gender clinics for minors has grown from one in 2007 to over fifty today. 26

But market expansion does not mean medical consensus.

     In 2022, WPATH’s updated guidelines, “Standards of Care for the

Health of Transgender and Gender Diverse People, Version 8,” claimed

that “[t]he SOC-8 is based on the best available science and expert




of recommended age for surgeries); Elizabeth R. Boskey et al., Ethical
Issues Considered when Establishing a Pediatric Gender Surgery
Center, 143 Pediatrics 1, 2 (2019),
https://pediatrics.aappublications.org/content/143/6/e20183053.figures-
only .
25 The Evidence to Support Medicalized Gender Transitions in

Adolescents Is Worryingly Weak, Economist, Apr. 5, 2023, [hereinafter
“The Evidence”], https://archive.ph/IaCvu#selection-1039.0-1039.88.
26 Comprehensive Care Clinics, Human Rights Campaign Found.,

https://www.thehrcfoundation.org/professional-
resources/comprehensive-care-clinics. Private sources report over 400
clinics and private clinicians providing medical transition treatments to
minors in North America. See The Gender Mapping Project,
https://www.gendermapper.org/.

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professional consensus.” 27 This supposed “expert professional consensus”

was limited by design to clinicians who share WPATH’s activist

commitment to promoting “gender-affirming” interventions. 28 The

guidelines eliminated the ethics chapter and acknowledged that

particular recommendations were based on “expert consensus only and

are evidentiarily weak.” 29 After the initial release, the WPATH SOC-8

guidelines required major corrections and eliminated minimum ages for

all gender-transition interventions. 30 WPATH is “an explicitly ideological

organization” whose guidelines do not meet rigorous standards of review

and do not reflect an international medical consensus. 31




27 E. Coleman et al., Standards of Care for the Health of Transgender

and Gender Diverse People, Ver. 8, 23 Int’l J. Transgender Health S1, at
S3 (2022), https://doi.org/10.1080/26895269.2022.2100644.
28 Id. at S247 (App. A: Methodology).

29 Id. at S150 (Statement 15.6).

30 WPATH Explained, Genspect (Oct. 1, 2022),

https://genspect.org/wpath-explained/.
31 Leor Sapir, “Trust the Experts” Is not Enough: U.S. Medical Groups

Get the Science Wrong on Pediatric “Gender Affirming Care”,
ManhattaniInst. (Oct. 17, 2022), https://www.manhattan-
institute.org/how-to-respond-to-medical-authorities-claiming-gender-
affirming-care-is-safe.

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      B.    There is a lack of evidence to support gender-
            transition interventions.

      Gender specialists admit that “[t]ransgender medicine presents a

particular challenge for the development of evidence-based guidelines”

because of “limited” data, “lower-quality evidence,” retrospective study

design, “lack of uniform data collection,” and limited research funding. 32

Experts admit that gender-transition interventions rest on a “relatively

slim (biomedical) evidence base.” 33

      In   2021,   Dutch     gender       clinician   Dr.   Thomas      Steensma

acknowledged the need for “[m]ore research on sex changes in young

people under the age of 18…. Doctors who provide transgender care in

[the Netherlands] say they know too little about the target group and the

long-term effects.” 34 Lawrence Tabak, acting director of the National



32 Madeline B. Deutsch et al., What’s in a Guideline? Developing

Collaborative and Sound Research Designs that Substantiate Best
Practice Recommendations for Transgender Health Care, 18 AMA J.
Ethics 1098, 1099 (2016),
https://doi.org/10.1001/journalofethics.2016.18.11.stas1-1611.
33 Gerritse et al., supra note 5, at 687.

34 Berendien Tetelepta, More Research Is Urgently Needed into

Transgender Care for Young People: “Where does the Large Increase of
Children Come From?”, Voorzij, Feb. 27, 2021,
https://www.voorzij.nl/more-research-is-urgently-needed-into-


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Institutes of Health, told a U.S. Senate Committee in 2022 that “no long-

term studies are available evaluating the effects of puberty blockers

when used for gender dysphoria.” 35 Diane Chen, a leading psychologist

with Lurie Children’s Hospital gender clinic, has admitted that “a lot of

the questions around long-term medical health outcomes we won’t be able

to answer until the youth who started hormones at 13, 14, 15, are in their

50s, 60s, 70s.” 36

      Dr. Johanna Olson-Kennedy leads The Trans Youth Research

Network, a multi-million-dollar research project involving four major

gender clinics. In 2019, Olson-Kennedy justified the project, explaining

“there is a consensus gap about the best approach to the care of youth

with gender dysphoria,” and “lack of consensus among professionals




transgender-care-for-young-people-where-does-the-large-increase-of-
children-come-from/ (translation of Dutch newspaper).
35 Florida Agency for Health Care Admin., Florida Medicaid: Generally

Accepted Professional Medical Standards Determination on the
Treatment of Gender Dysphoria, at 14 (June 2022) [hereinafter Florida
Medicaid Report],
https://ahca.myflorida.com/letkidsbekids/docs/AHCA_GAPMS_June_20
22_Report.pdf.
36 Frieda Klotz, The Fractious Evolution of Pediatric Transgender

Medicine, Undark.org (Apr. 6, 2022), https://undark.org/2022/04/06/the-
evolution-of-pediatric-transgender-medicine/.

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around timing of initiation of medical interventions, as well as optimal

dosing regimens.” 37 After receiving over $7.7 million in federal grants,

the project’s renewal application in 2022 described a “scant evidence-base

currently guiding the clinical care of [transgender/gender diverse]

youth.” 38 A 2022 funding request by other gender clinicians admits “[t]he

overall impacts of [puberty suppression] have not been systematically

studied.” 39 A multi-year grant application from Stanford researchers

sought to study the use of cross-sex hormones “in early pubertal

adolescents,” because clinicians need a “foundation for understanding the




37 Johanna Olson-Kennedy et al., Creating the Trans Youth Research

Network: A Collaborative Research Endeavor, 4 Transgender Health
304, 305 (2019), https://liebertpub.com/doi/full/10.1089/trgh.2019.0024.
38 NIH, The Impact of Early Medical Treatment in Transgender Youth,

NIH Project No. 5R01HD082554-07, RePORTER (2022),
https://reporter.nih.gov/search/RiXZr_7vAECGmmm-c_pjIw/project-
details/10401756#similar-Projects (multi-year, four-center study led by
Dr. Johanna Olson-Kennedy received $7,748,467 to date).
39 Eric Nelson et al., The Impact of PubertaliSuppression on Adolescent

Neural and Mental Health Trajectories, NIH RePORTER (2022),
https://reporter.nih.gov/search/Xr4WhUWe906AqRywwpsXVA/project-
details/10442698.

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longitudinal impact of treatments that are already being used in clinical

settings.” 40

      The original Dutch studies that formed the empirical basis for the

“gender-affirming” approach have undergone new scrutiny. Scholars

have sharply criticized the Dutch studies for their “methodological

biases,” weak evidence base, and “profound limitations,” and concluded

the studies “should never have been used as justification for propelling

these interventions into general medical practice.” 41 Dr. Susan Bradley,

a pioneering gender clinician in Canada, has expressed regret for

adopting the Dutch model and using puberty suppression in minors: “We

were wrong.” 42 She realized that gender-transition interventions are “not




40 David S. Hong et al., Sex Hormone Effects on Neurodevelopment:

Controlled Puberty in Transgender Adolescents, NIH RePORTER
(2020),
https://reporter.nih.gov/search/XPR7Y2lFAEC3glQp53hqPw/project-
details/9940793 (emphasis added).
41 E.iAbbruzzeseietial., The Myth of “Reliable Research” in Pediatric

Gender Medicine: A Critical Evaluation of the Dutch Studies—and
Research that Has Followed, J. Sex & Marital Therapy (2023),
https://doi.org/10.1080/0092623X.2022.2150346.
42 LaureliDuggan, i“WeiWereiWrong”: Pioneer in Child Gender Swaps

Makes Damning Admission, WND News Servs., Mar. 12, 2023,
https://www.wnd.com/2023/03/wrong-pioneer-child-gender-swaps-
makes-damning-admission/.

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as irreversible as we always thought, and they have longer term effects

on kids’ growth and development, including making them sterile and

quite a number of things affecting their bone growth.” 43

         C.   WPATH and Endocrine Society guidelines are not the
              standard of care.

         Activists claim WPATH guidelines represent the “professional

consensus about the psychiatric, psychological, medical, and surgical

management of gender dysphoria.” 44 But WPATH itself only claims that

it has issued “flexible” guidelines. 45 Indeed, HHS’s Centers for Medicare

& Medicaid Services (CMS) cited the “flexibility” of WPATH’s guidelines

when it declined to endorse WPATH guidelines as the standard for

Medicare coverage determinations. 46




43 Id.

44 Facts About Anti-Trans Youth Bills, FenwayiHealthi2022), i

https://fenwayhealth.org/the-fenway-institute/health-
policy/transyouthmatter/; see also MadelineiB. iDeutsch, i Overview of
Gender-Affirming Procedures, Univ. iCal. iS.F. Transgender Care (June
17, 2016), https://transcare.ucsf.edu/guidelines/overview.
45 WPATHiSOCi8, supra note 2717.

46 CMS, Decision Memo for Gender Dysphoria and Gender Reassignment

Surgery, CAG–00446N, Aug. 30, 2016 [hereinafter “CMS Decision
Memo”], https://www.cms.gov/medicare-coverage-database/view/ncacal-
decision-memo.aspx?proposed=N&NCAId=282.

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     WPATH guidelines lack the rigor and evidence base necessary to

qualify as authoritative standards of care or clinical practice guidelines

(CPGs). 47 A 2021 first-of-its-kind systematic analysis of international

CPGs for “gender minority/trans health,” 48 published in the British

Medical Journal (BMJ), reviewed WPATH SOC 7 guidelines, singled

them out for particularly strong criticism, and concluded they “cannot be




47 Deutschietial., supra notei32. Trustworthy CPGs

“shouldibeibasedioniaisystematicireviewiofithe existingievidence;
beidevelopedibyiaiknowledgeable, multidisciplinary
paneliofiexpertsiandirepresentativesifromikeyiaffectedigroups; consider
importantipatientisubgroupsiandipreferences, asiappropriate; beibased
onianiexplicitianditransparentiprocessithatiminimizesidistortions,
biases, iandiconflictsiofiinterest; provideiaicleariexplanationiofithe
logicalirelationshipsialternativeicareioptionsiandihealthioutcomes, and
provideiratingsiofibothitheiofievidenceianditheistrengthiof
recommendations; and be reconsidered and revised as appropriate when
important new evidence warrants modifications of recommendations.”
IOMiCommitteeioniStandardsiforiDevelopingiTrustworthyiClinical
PracticeiGuidelines, ClinicaliPracticeiGuidelinesiWeiCaniTrust, ati3
(RobiniGrahamietial. eds., 2011),
https://www.ncbi.nlm.nih.gov/books/NBK209546/ (cleaned up).
48 SaraiDahlenietial., International Clinical Practice Guidelines for

Gender Minority/Trans People: Systematic Review and Quality
Assessment, 11 BMJ Open 1, 8 (2021),
https://pubmed.ncbi.nlm.nih.gov/33926984/ (describing an overall
“paucity” of “high quality” clinical guidance regarding gender dysphoria
and transitioning treatments).

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considered ‘gold standard.’” 49 Patrik Vankrunkelsven, the Director of the

Belgian Center for Evidence-Based Medicine (CEBAM), extended those

criticisms to WPATH SOC 8 and called gender-transition interventions

“a pure experiment on children, without any scientific evidence.” 50 From

a professional standpoint, Vankrunkelsven pointed out that “if we had to

review [the WPATH guidelines] at CEBAM, we would actually toss them

in the bin [trash].” 51

      Similarly, the Endocrine Society’s guidelines are “fundamentally

flawed” according to Gordon Guyatt, the co-developer of the GRADE

“evidence-based” review protocol. 52 Before issuing its 2009 guidelines

supporting gender-transition interventions for minors, the Endocrine

Society conducted a substantive evidence review, using GRADE

methodology. However, the review had “serious problems,” according to

Guyatt, especially as it focused on two side effects (cardiovascular and


49 Id. at 8 (emphasis added), referencing the “incoherence” of WPATH

SOCv7).
50 Lauwke Vandendriessche Pano, Fierce Debate About Puberty

Inhibitors and Male/Female Hormones: What You are Doing Is an
Experiment on Children, VRT News, Mar. 29, 2023 (translated).
51 Id.; see also @segm_ebm, Twitter (Mar. 31, 2023, 7:54 PM),

https://twitter.com/segm_ebm/status/1641952056088096769.
52 The Evidence, supra note 25.




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bone health) while failing to assess the main outcome desired (reducing

gender dysphoria). 53 The Society also “paired strong recommendations—

phrased as ‘we recommend’—with weak evidence,” in violation of GRADE

protocols. 54

      Like      WPATH’s      “standards,”      the     Endocrine       Society’s

recommendations rely on “low” and “very low” quality evidence and

included a disclaimer that its “guidelines cannot guarantee any specific

outcome, nor do they establish a standard of care.” 55

      No current guidelines for treating gender dysphoria qualify as an

authoritative CPG or standard of care, and clinicians with diverse

perspectives recognize that no medical consensus exists. In practice,

gender medicine freely disregards existing guidelines. A 2020 study from

the Mount Sinai Center for Transgender Medicine and Surgery notes

that WPATH guidelines “are often considered the standard of care for

[transgender] people throughout the world,” but characterizes them as a




53 J. Block, Gender Dysphoria in Young People Is Rising—And so Is

Professional Disagreement, 380 BMJ 382, at 2-3 (2023),
https://www.bmj.com/content/380/bmj.p382.
54 Id. at 3.

55 Hembree et al., supra note 21, at 389521.




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“barrier to care,” “impractical,” unclear, and detrimental to patient

wellbeing. 56 Indeed, Mount Sinai eventually developed its own criteria

for gender-transition interventions—criteria that diverged significantly

from WPATH guidelines: less than ten percent of Mount Sinai patients

meeting criteria for both WPATH and Mount Sinai assessments. 57

      Although gender clinicians tout the “substantial” mental health

evaluations occurring before transition, the role of mental health

providers varies widely by clinic. 58 Seattle Children’s Gender Clinic offers

“brief mental health support” but no ongoing mental health therapy. 59

Other clinics, such as Boston Children’s, conduct “comprehensive

psychological    and   medical   assessments.” 60     Two     veteran    gender




56 Max Lichtenstein et al., The Mount Sinai Patient-Centered

Preoperative Criteria Meant to Optimize Outcomes Are Less of a Barrier
to Care than WPATH SOC 7 Criteria Before Transgender-Specific
Surgery, 5iTransgenderiHealthi166, 170i(2020),
https://doi.org/10.1089/trgh.2019.0066.
57 Id. at 170.

58 Block, supra note 53, at 4; The Evidence, supra note 25.

59 Services We Provide: Brief Mental Health Support, Seattle Children’s

Gender Clinic, https://www.seattlechildrens.org/clinics/gender-clinic/.
60 Gender Multispecialty Clinic (GeMS): Your Visit, Boston Children’s

Hospital, https://www.childrenshospital.org/programs/gender-
multispecialty-service/your-visit.

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clinicians, Dr. Erica Anderson and Dr. Laura Edwards-Leeper, have

warned that some adolescents receive “sloppy care” from clinicians who

start them on transitioning treatments with minimal psychological

assessments. 61 Edwards-Leeper recently lamented that many “providers

do not value the mental health component,” which results in children

being “pretty much fast tracked to medical intervention.” 62 De-

transitioners   (formerly   trans-identified    people     who    regret    and

discontinue gender-transition interventions) report minimal or no

mental health treatments before medicalized interventions. 63

     Several other circuit courts have recognized that WPATH

guidelines do not reflect medical consensus. See Gibson v. Collier, 920

F.3d 212, 223 (5th Cir. 2019) (“WPATH Standards of Care do not reflect

medical consensus”); Doe v. Snyder, 28 F.4th 103, 112 (9th Cir. 2022)

(affirming district court’s reliance on “expert testimony that WPATH’s


61 Abigail Shrier, Top Trans Doctors Blow the Whistle on “Sloppy” Care,

Real Clear Politics, Oct. 5, 2021,
https://www.realclearpolitics.com/2021/10/05/top_trans_doctors_blow_th
e_whistle_on_sloppy_care_553290.html.
62 Block, supra note 53, at 4.

63 See, e.g., The Evidence, supra note 25 (testimony of Prisha Mosley,

who reported receiving “one 15-minute [mental health] appointment
before I was given testosterone”).

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Standards of Care are not universally endorsed”); Kosilek v. Spencer, 774

F.3d 63, 88 (1st Cir. 2014) (en banc) (“[p]rudent medical professionals ...

do   reasonably   differ     in   their    opinions    regarding     [WPATH’s]

requirements”); cf. Keohane v. Fla. Dep’t of Corr. Sec’y, 952 F.3d 1257,

1296 (11th Cir. 2020) (finding that district court and others have found

WPATH standards “authoritative for treating gender dysphoria in

prison,” without evaluating merits of WPATH standards); Edmo v.

Corizon, Inc., 935 F.3d 757, 787, 788 & n.16 (9th Cir. 2019) (per curiam)

(holding WPATH standards are the “established standards” for

evaluations of the necessity of transitioning surgery and the “undisputed

starting point in determining the appropriate treatment for gender

dysphoric individuals”), reh’g en banc denied, 949 F.3d 489, 497 (9th Cir.

2020) (O’Scannlain, J., joined by seven judges, respecting the denial of

rehearing en banc) (rejecting panel’s characterization because “WPATH

Standards are merely criteria promulgated by a controversial private

organization with a declared point of view”).




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     D.    The lack of medical consensus is reflected
           internationally.

     Many     countries    that   initially    embraced      gender-transition

interventions have recently reversed course. 64 For example, Sweden’s

National Board of Health and Welfare commissioned an extensive

evidence review and concluded in 2022 “that the risks of anti-puberty and

sex-confirming hormone treatment for those under 18 currently outweigh

the possible benefits.” 65 Finland likewise revised its protocols: the

Finnish Health Authority performed an extensive literature review then

issued new guidelines prioritizing psychotherapy as the first-line

treatment for gender-dysphoric minors. 66



64 See also Defs.-Appellants Initial Br. at 8-9 (reviewing international

trend restricting gender transitions for minors).
65 Socialstyrelsen, Support, Investigation and Hormone Treatment for

Gender Incongruence in Children and Adolescents (2022),
https://web.archive.org/web/20221121222721/https://www.socialstyrelse
n.se/globalassets/sharepoint-
dokument/artikelkatalog/kunskapsstod/2022-2-7774.pdf; see also Lisa
Nainggolan, Hormonal Tx of Youth with Gender Dysphoria Stops in
Sweden, Medscape (2021),
https://www.medscape.com/viewarticle/950964.
66 PALKO/COHEREiFinland, RecommendationiofitheiCouncilifor

ChoicesiiniHealthiCareiiniFinlan: MedicaliTreatmentiMethodsifor
Dysphoria Related to Gender Variance in Minors (2020), available at
https://segm.org/sites/default/files/Finnish_Guidelines_2020_Minors_Un


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     In the United Kingdom, whistleblower complaints exposed the

inadequate psychological care for gender-dysphoric minors at the

National Health Service’s (NHS) gender clinic. 67 A landmark case

against the NHS in 2020 by “de-transitioner” Keira Bell found that

minors lacked capacity to consent to transitioning treatments that cause

sterility and impair sexual function. The NHS initially suspended the use

of puberty blockers and instituted new procedures to ensure better

psychological care. 68 (The decision was later reversed on procedural

grounds.)

     Two separate evidence reviews assessing the impact of puberty

suppressing drugs and cross-sex hormones to treat gender dysphoria

were published in 2021 by the UK’s National Institute for Health and

Care Excellence (NICE). The NICE evidence review found little evidence



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MinistryiofiSocialiAffairsiandiHealth.
67 LaureniLewis, iNHS’siOnlyiGenderiServiceiChildreniBelievesiAll

Girls WhoiDon’tiLikei‘PinkiRibbonsiandiDollies’ Must Be Transgender,
Whistleblower Claims, Daily Mail, Nov. 22, 2021,
https://www.dailymail.co.uk/news/article-10231507/NHSs-gender-
service-children-believes-girls-dont-like-pink-transgender.html.
68 Becky McCall, NHS Makes Child Gender Identity Service Changes

After High Court Ruling, Medscape, Dec. 4, 2020,
https://www.medscape.com/viewarticle/941781.

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of benefit and substantial risk of harm from “gender affirming” treatment

in minors. 69 A 2022 independent review commissioned by NHS England

(the “Cass Review”), found that “[a]t present the professional community

does not have a shared understanding about the meaning of gender

dysphoria in young people,” its cause, or best treatment approaches. 70

The Review noted that “[m]uch of the research base is observational,”

with little “longer term follow up data,” resulting in a “weak evidence

base.” 71 It concluded, “[t]here is lack of consensus and open discussion

about the nature of gender dysphoria and therefore about the appropriate

clinical response.” 72


69 NICE, Evidence Review: Gonadotrophin Releasing Hormone

Analogues for Children and Adolescents with Gender Dysphoria (2021)
(https://cass.independent-review.uk/wp-
content/uploads/2022/09/20220726_Evidence-review_GnRH-
analogues_For-upload_Final.pdf); NICE, Evidence Review: Gender-
Affirming Hormones for Children and Adolescents with Gender
Dysphoria (2021) (https://cass.independent-review.uk/wp-
content/uploads/2022/09/20220726_Evidence-review_Gender-affirming-
hormones_For-upload_Final.pdf), [hereinafter, collectively, “NICE
Evidence Review”].
70 Hilary Cass, Review of Gender Identity Services for Children and

Young People, BMJ 376 (2022),
https://www.bmj.com/content/376/bmj.o629.
71 Id.

72 Cass Review, Interim Report (Feb. 2022), https://cass.independent-

review.uk/publications/interim-report/.

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     In 2021, psychotherapists in Australia and New Zealand issued a

statement emphasizing mental health treatment for gender-dysphoric

minors, not “gender affirmation.” They stressed the importance of

assessing the “psychological state and context in which gender dysphoria

has arisen” before treatment decisions are made. 73 In February 2022,

France’s National Academy of Medicine warned medical professionals

that the increase in young people seeking transitioning treatments may

be due to social contagion and urged “great medical caution.” 74 In March

2023, the Norwegian Healthcare Investigation Board restricted the use

of puberty blockers for gender affirmation, deeming their use

“experimental” and lacking evidence-based support. 75




73 Position Statement, The Royal Australian and New Zealand College

of Psychiatrists, Recognising and Addressing the Mental Health Needs
of People Experiencing Gender Dysphoria/Gender Incongruence, Aug.
2021, https://www.ranzcp.org/news-policy/policy-and-advocacy/position-
statements/gender-dysphoria. [Australia-New Zealand Stmt.]
74 Press Release, French National Academy of Medicine, Medicine and

Gender Transidentity in Children and Adolescents (Feb. 25, 2022)
https://www.academie-medecine.fr/la-medecine-face-a-la-transidentite-
de-genre-chez-les-enfants-et-les-adolescents/?lang=en.
75 A summary of the Norwegian report by the Society of Evidence-based

Gender Medicine is available here: @segm_ebm, Twitter (Mar. 9, 2023,
8:24 PM), https://twitter.com/segm_ebm/status/1634032333618819073.

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     Many studies confirm that socially transitioning a child has

important psycho-social and psychological consequences. Early Dutch

research found social transition can make it difficult for a child to reverse

course. 76 More recently, studies in the United Kingdom, 77 Sweden, 78




76 Steensma, T., et al, Factors Associated with Desistence and

Persistence of Childhood Gender Dysphoria: A Quantitative Follow-Up
Study, J. of Am. Acad. of Child & Adolescent Psychiatry 52 (2013): 582-
90 https://doi.org/10.1016/j.jaac.2013.03.016 (“[C]hildhood social
transitions were important predictors of persistence, especially among
natal boys.”)
77 Hilary Cass,The Cass Review: Independent review of gender identity

services for children and young people: Interim report, NHS England
2022, https://cass.independent-review.uk/publications/interim-report/
(study found “a spectrum of opinion about the correct clinical approach,
ranging broadly between those who take a more gender-affirmative
approach to those who take a more cautious, developmentally-informed
approach.”);
78 Socialstyrelsen, Support, Investigation and Hormone Treatment for

Gender Incongruence in Children and Adolescents (2022),
https://web.archive.org/web/20221121222721/https://www.socialstyrelse
n.se/globalassets/sharepoint-
dokument/artikelkatalog/kunskapsstod/2022-2-7774.pdf; (study
concludes “that the risks of anti-puberty and sex-confirming hormone
treatment for those under 18 currently outweigh the possible benefits).

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Finland, 79 Australia and New Zealand, 80 France, 81 Norway, 82 and

Denmark 83 have retracted their endorsement of the “gender affirmation”

approach. These nations have realized that psychosocial transition is not

a neutral course of treatment: socially transitioning makes it harder for




79 Recommendation of the Council for Choices in Health Care in Finland

(PALKO / COHERE Finland): Medical Treatment Methods for
Dysphoria Related to Gender Variance in Minors (2020), available at
https://segm.org/sites/default/files/Finnish_Guidelines_2020_Minors_Un
official%20Translation.pdf (Finish Health Authority issues new
guidelines prioritizing psychotherapy as the first-line treatment for
gender-dysphoric minors).
80 Australia-New Zealand Stmt., supra n. 73, (recommending mental

health treatment for gender-dysphoric minors, rather than “gender
affirmation;” stressing importance of assessing the “psychological state
and context in which gender dysphoria has arisen,” before any
treatment decisions are made).
81 Press Release, French National Academy of Medicine, Medicine and

Gender Transidentity in Children and Adolescents (Feb. 25, 2022)
https://www.academie-medecine.fr/la-medecine-face-a-la-transidentite-
de-genre-chez-les-enfants-et-les-adolescents/?lang=en (urging medical
professionals exercise “great medical caution” as increase in young
people seeking transitioning treatments may be due to social
contagion).
82 Bernard Lane, Yes, it’s an experiment: Norway joins the shift to

caution on gender medicine, Gender Clinic News, March 9, 2023,
https://www.genderclinicnews.com/p/yes-its-an-
experiment?nthPub=781.
83 SEGM, Denmark Joins the List of Countries That Have Sharply

Restricted Youth Gender Transitions, Aug. 17, 2023,
https://segm.org/Denmark-sharply-restricts-youth-gender-transitions.

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the child to embrace his or her biological identity and predisposes the

child to pursue irreversible medical transition. Furthermore, as a 2023

journal article concluded, there are “no significant effects of social

transition or name change on mental health status.” 84

      E.   The federal government has recognized the lack of
           medical consensus.

      Despite the efforts under the current administration to push

gender-transition interventions, the federal government has never

formally determined that such treatments are the appropriate standard

of care.

      In June 2020, HHS acknowledged that “there is no medical

consensus to support one or another form of treatment for gender

dysphoria.” 85 HHS found that its prior regulations supporting gender-

transition surgeries “relied excessively on the conclusions of an advocacy

group (WPATH) rather than on independent scientific fact-finding,” such



84 James S. Moriandi, et al., Is Social Gender Transition Associated with

Mental Health Status in Children and Adolescents with Gender
Dysphoria? 52 Arch Sex Behav 1045, 1045 (2023).
https://doi.org/10.1007/s10508-023-02588-5
85 Nondiscrimination in Health and Health Education Programs or

Activities, Delegation of Authority, 85 Fed. Reg. 37,160, 37,198 (Aug. 4,
2022).

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as the CMS factfinding for its most recent National Coverage

Determination. 86 After its factfinding, CMS declined to issue a National

Coverage Determination on gender-transition surgeries for Medicare

beneficiaries with gender dysphoria “because the clinical evidence is

inconclusive.” 87 “Based on an extensive assessment of the clinical

evidence,” CMS determined that “there is not enough high quality

evidence to determine whether gender reassignment surgery improves

health outcomes for Medicare beneficiaries [which include non-seniors]

with gender dysphoria and whether patients most likely to benefit from

these types of surgical intervention can be identified prospectively.” 88

         Similarly, a 2018 Department of Defense report on gender

dysphoria found that there is “considerable scientific uncertainty and

overall lack of high quality scientific evidence demonstrating the extent

to which transition-related treatments, such as cross-sex hormone

therapy and sex reassignment surgery—interventions which are unique

in psychiatry and medicine—remedy the multifaceted mental health




86 Id.

87 CMS Decision Memo, supra note 4646.

88 Id.




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problems associated with gender dysphoria.” 89 Indeed, none of the drugs

used to block puberty and induce cross-sex masculine or feminine

features are approved as safe or effective for such uses by the FDA and

the NIH only began investigating the long-tern outcomes of transitioning

treatments for youth in 2015. 90

      F.   State action reflects the lack of medical consensus.

      State actions reflect the lack of medical consensus for the

appropriate standard of care for gender dysphoria and transitioning

interventions, especially for minors. At least twenty-one states have

passed laws prohibiting gender-transition interventions on minors. 91

II.   Gender-transition interventions can lead to serious harms.

      Gender-transition interventions can cause significant harms,

including loss of fertility and sexual function. Long-term outcomes for



89 Dep’t of Defense, Report and Recommendations on Military Service by

Transgender Persons 5 (Feb. 22, 2018), available at
https://media.defense.gov/2018/Mar/23/2001894037/-1/-1/0/MILITARY-
SERVICE-BY-TRANSGENDER-INDIVIDUALS.PDF.
90 See Juliana Bunim, First U.S. Study of Transgender Youth Funded by

NIH, U.C.S.F., Aug. 17, 2015, https://perma.cc/URA6-CERX.
91 See L. W. by & through Williams v. Skrmetti, No. 23-5600, 2023 WL

6321688, at *6 (6th Cir. Sept. 28, 2023) (listing 19 states that have
passed laws similar to the Tennessee and Kentucky restrictions at issue
in that case).

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individuals who undergo transitioning treatments are not promising.

Those who have had genital surgery are nineteen times more likely than

the general population to die by suicide, 92 and studies show that

transitioning treatments fail to reduce suicide risks and mental health

issues in the long-term. 93

     Equally troubling, the number of children and adolescents

diagnosed with gender dysphoria or identifying as “transgender” has

risen dramatically over the past decade, becoming “an international

phenomenon, observed across North America, Europe, Scandinavia, and




92 Cecilia Dhejne et al., Long-term Follow-up of Transsexual Persons

Undergoing Sex Reassignment Surgery: Cohort Study in Sweden, 6
PLoS ONE e16885 (2011), https://pubmed.ncbi.nlm.nih.gov/21364939/.
93 Roberto D’Angelo et al., One Size Does Not Fit All: In Support of

Psychotherapy for Gender Dysphoria, 50 Archives Sexual Behav. 7
(2020), https://doi.org/10.1007/s10508-020-01844-2; Chantel M. Wiepjes
et al., Trends in Suicide Death Risk in Transgender People: Results from
the Amsterdam Cohort of Gender Dysphoria Study (1972-2017), 141
Acta Psychiatrica Scandinavica 486 (2020),
https://doi.org/10.1111/acps.13164; Correction to Bränström and
Pachankis, 177 Am. J. Psychiatry 734 (2020) (correcting Richard
Bränström et al., Reduction in Mental Health Treatment Utilization
Among Transgender Individuals After Gender-Affirming Surgeries: A
Total Population Study, 177 Am. J. Psychiatry 727 (2020)).

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elsewhere.” 94 The typical patient profile has changed markedly. In the

past, patients seeking treatment for gender dysphoria were usually

either adult males or very young children, mostly male. Today, the

typical patient is an adolescent, usually female. 95

         For years, gender dysphoria in children was addressed through

“watchful waiting” or family therapy. Under this approach, about eighty-

eight percent of the time, the child’s gender dysphoria resolved naturally

by puberty. 96 The “gender-affirming” approach changed that pattern

dramatically: most children affirmed in their transgender beliefs persist

in those beliefs and are likely to pursue transitioning treatments that

irreversibly modify their bodies—and lead to regret. 97




94 Kenneth J. Zucker, Adolescents with Gender Dysphoria: Reflections on

Some Contemporary Clinical and Research Issues, 48 Archives Sexual
Behav. 1983 (2019), https://pubmed.ncbi.nlm.nih.gov/31321594/.
95 Id.

96 Singh et al., supra note 1212.

97 Carmichael et al., supra note 1919 (study by Tavistock and Portman

NHS Gender Identity Development Service (UK) finding 98% of
adolescents who underwent puberty suppression continued on to cross-
sex hormones); see also Lisa Littman, Individuals Treated for Gender
Dysphoria with Medical and/or Surgical Transition Who Subsequently
Detransitioned: A Survey of 100 Detransitioners, 50 Archives Sexual
Behav. 3353 (2021), https://pubmed.ncbi.nlm.nih.gov/34665380/.

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      Clinical concerns over gender-transition interventions have

escalated. 98 Puberty blockers, originally praised as safe and fully

reversible, are known to have negative effects on bone density, social and

emotional maturation, and other aspects of neuro-development. 99 They

generally fail to lessen the child’s gender dysphoria, and deliver mixed

results for mental health. 100 Long term effects remain unknown. 101

      Nearly all children who begin puberty blockers go on to receive

cross-sex hormones, with life-altering consequences. 102 Blocking a child’s

natural puberty prevents maturation of genitals and reproductive

organs; subsequently introducing cross-sex hormones renders the child

permanently sterile. 103 Puberty suppression may also impair the child’s


98 William Malone, Puberty Blockers for Gender Dysphoria: The Science

is Far from Settled, 5 Lancet Child & Adolescent Health 33 (2021),
https://pubmed.ncbi.nlm.nih.gov/34418372/.
99 NICE Evidence Review, supra note 69.

100 Carmichael et al., supra note 19.

101 Diane Chen et al., Consensus Parameter: Research Methodologies to

Evaluate Neurodevelopmental Effects of Pubertal Suppression in
Transgender Youth, 5 Transgender Health 246 (2020),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7759272/.
102 Id.

103 Stephen B. Levine, Ethical Concerns About Emerging Treatment

Paradigms for Gender Dysphoria, 44 J. Sex & Marital Therapy 29
(2018), https://pubmed.ncbi.nlm.nih.gov/28332936/.

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later sexual functioning as an adult. 104 These losses cannot be fully

comprehended by a child, making informed consent impossible.

     Cross-sex hormones carry numerous health risks and cause

significant irreversible changes in adolescents’ bodies, including genital

or vaginal atrophy, hair loss (or gain), voice changes, and impaired

fertility. 105 They increase cardiovascular risks and cause liver and

metabolic changes. 106 The flood of opposite sex hormones has variable

emotional and psychological effects as well. Females taking testosterone

experience an increase in gender dysphoria, particularly regarding their

breasts, which heightens the likelihood they will undergo double

mastectomies—as young as thirteen. 107 Far from an evidence-based

standard of care, transitioning treatments for gender dysphoria amount



104 Shrier, supra note 61Error! Bookmark not defined..

105 Levine et al., supra note 2020.

106 Gender-Affirming Hormone in Children and Adolescents, BJM EBM

Spotlight (Feb. 25, 2019),
https://blogs.bmj.com/bmjebmspotlight/2019/02/25/gender-affirming-
hormone-in-children-and-adolescents-evidence-review/.
107 Johanna Olson-Kennedy et al., Chest Reconstruction and Chest

Dysphoria in Transmasculine Minors and Young Adults: Comparisons
of Nonsurgical and Postsurgical Cohorts, 172 JAMA Pediatrics 431
(2018), https://pubmed.ncbi.nlm.nih.gov/29507933/ (Figure: Age at
Chest Surgery in the Post-surgical Cohort).

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to unethical human experimentation, including on children. One Swedish

teen who underwent medical transition, suffered serious bodily harm,

and then de-transitioned has described gender-transitioning treatments

for gender dysphoria in stark terms: “They’re experimenting on young

people ... we’re guinea pigs.” 108 Or, as psychotherapist Alison Clayton

warns, this is nothing less than “dangerous medicine.” 109

                              CONCLUSION

      Amicus urges the Court to find for the Defendants-Appellants and

reverse the decision below.

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108 Video, Mission: Investigate: Trans Children (“Trans Train 4”), Nov. 26,

2021, https://www.svtplay.se/video/33358590/uppdrag-granskning/mission-
investigate-trans-children-avsnitt-1.
109 Alison Clayton, The Gender Affirmative Treatment Model for Youth with

Gender Dysphoria: A Medical Advance or Dangerous Medicine?, 51 Archives
Sexual Behav. 691 (2022),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8888500/.


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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the word limit of Fed. R. App. P. 29(a)(5)

because this brief contains 6,484 words, excluding parts of the brief

exempted by Fed. R. App. P. 32(f).

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P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

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